           Case 1:18-cv-00396-JLC Document 49 Filed 01/12/21 Page 1 of 1


                                                                                     1/12/2021
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
DAVID ORTIZ DORTA,                                             :
                                                               :
                           Plaintiff,                          :
                                                               :   ORDER
                  -against-                                    :
                                                               :   18-CV-396 (JLC)
COMMISSIONER OF SOCIAL SECURITY, :
                                                               :
                           Defendant.                          :
                                                               :
---------------------------------------------------------------X

JAMES L. COTT, United States Magistrate Judge.

        By letter dated January 12, 2021, the Commissioner responded to plaintiff’s

motion for attorney’s fees, raising an issue with counsel’s eligibility for fees under

the Equal Access to Justice Act. Dkt. No. 48. Accordingly, plaintiff is directed to

file a reply letter to the Commissioner’s submission no later than January 20,

2021.

        SO ORDERED.

Dated: January 12, 2021
       New York, New York
